       Case 4:22-cv-01587-JSW Document 73-1 Filed 06/13/23 Page 1 of 2




     Russell Davis (SBN 177959)
 1
     PACIFIC JUSTICE INSTITUTE
 2   29 Lakewood Ave.
     San Francisco, CA 94127
 3   Tel. (415) 310-6575
 4   rdavis@pji.org

 5   Attorney for Plaintiffs

 6
 7
 8
                           IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
      SELINA KEENE, MELODY FOUNTILA, MARK ) Case No.: 4:22-cv-01587-JSW
11    MCCLURE,                                          )
                                                        ) [PROPOSED] ORDER RE:
12                                                      ) PLAINTIFFS’ MOTION TO ENTER
             Plaintiffs,                                ) AN ORDER PURSUANT TO THE
13                                                      ) NINTH CIRCUIT’S MEMORANDUM
14   v.                                                 )
                                                        )
15                                                      )
     CITY AND COUNTY OF SAN FRANCISCO;                  ) Date: July 28, 2023
16                                                        Time: 9:00 AM
     LONDON BREED, Mayor of San Francisco in her ) Judge: The Honorable Jeffrey S. White
     official capacity; CAROL ISEN Human Resources )
17
     Director, City and County of San Francisco, in her )
18   official capacity; DOES 1-100,                     )
                                                        )
19                                                      )
           Defendants.                                  )
20                                                      )
21
22
23
24
25
26
27   _________________________________________________________________________________________________________
                  [PROPOSED] ORDER RE. PLAINTIFFS’ MOTION TO ENTER AN ORDER PURSUANT TO
                                       THE NINTH CIRCUIT’S MEMORANDUM
28
                                                        -1-
       Case 4:22-cv-01587-JSW Document 73-1 Filed 06/13/23 Page 2 of 2




            The Court finds as follows:
 1
            Plaintiffs have established a prima facie case and meet all four Winter factors in support of
 2
     their Motion for Preliminary Injunction.
 3
            1. There is no public interest in Plaintiffs working in the privacy of their own homes.
 4
            2. The balance of equities falls in Plaintiffs favor, as no one working San Francisco can be
 5
     effected by Plaintiffs remote work.
 6
            3. Plaintiffs prevail on the merits. Defendant waived its affirmative defenses and failed to
 7
     carry its burden of going forward under well established Title VII law.
 8
            4. Irreparable harm is presumed when there is a violation of a civil rights statute, in this
 9
     case, Title VII. In addition, Plaintiffs loss of their careers established irreparable harm.
10
            For good cause shown, Plaintiffs Motion for Preliminary Injunction is granted. Plaintiffs
11
     are to be reinstated to their former positions forthwith.
12
13          Dated:
                                                              The Honorable Jeffrey S. White
14
15
16
17
18
19
20
21
22
23
24
25
26
27   _________________________________________________________________________________________________________
                  [PROPOSED] ORDER RE. PLAINTIFFS’ MOTION TO ENTER AN ORDER PURSUANT TO
                                       THE NINTH CIRCUIT’S MEMORANDUM
28
                                                        -2-
